                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               SOUTHERN DIVISION

                                    No. 7:23-cv-00899-BO


ROBERT MCGUINN AND PENNY MCGUINN
                               )
           Plaintiff[s],       )
                               )
     v.                        )
                               )                       NOTICE OF APPEARANCE
UNITED STATES OF AMERICA,      )
                               )
           Defendant.          )
                               )


       Please enter the appearance of the following attorney on behalf of Defendant in the

above-captioned matter:

       Cindy M. Hurt
       Trial Attorney
       U.S. Department of Justice
       Virginia Bar No. 86826
       E-mail: Cindy.M.Hurt@usdoj.gov
       Telephone: (202) 718-8160
       Fax: (202) 616-4473

       Street Address:                        U.S. Mail Address: 1
       175 N Street NE, Ste. 11.218           P.O. Box 340, Ben Franklin Station
       Washington, DC 20002                   Washington, DC 20044


                                              DATED this 18th day of July, 2023.

                                              Respectfully submitted,




1
 All deliveries to the undersigned via U.S. Mail are significantly delayed due to security
precautions. All materials should be sent via private delivery service to the street address above.


                                     1
        Case 7:23-cv-00899-BO-BM Document 11 Filed 07/18/23 Page 1 of 3
                            BRIAN BOYNTON
                            Principal Deputy Assistant Attorney General
                            Civil Division

                            J. PATRICK GLYNN
                            Director, Torts Branch
                            Environmental Torts Litigation Section

                            BRIDGET BAILEY LIPSCOMB
                            Assistant Director, Torts Branch
                            Environmental Torts Litigation Section

                            ADAM BAIN
                            Senior Trial Counsel, Torts Branch
                            Environmental Torts Litigation Section

                            /s/ Cindy M. Hurt
                            Cindy M. Hurt
                            Trial Attorney, Torts Branch
                            Environmental Torts Litigation Section
                            U.S. Department of Justice
                            P.O. Box 340, Ben Franklin Station
                            Washington, D.C. 20044
                            E-mail: Cindy.M.Hurt@usdoj.gov
                            Telephone: (202) 718-8160
                            Fax: (202) 616-4473

                            Attorney inquiries to DOJ regarding the
                            Camp Lejeune Justice Act:
                            (202) 353-4426




                             2
Case 7:23-cv-00899-BO-BM Document 11 Filed 07/18/23 Page 2 of 3
                               CERTIFICATE OF SERVICE

       I hereby certify that on July 18, 2023, a copy of the foregoing Notice of Appearance was

filed via the Court’s ECF system and served on counsel of record through the ECF system.

                                            /s/ Cindy M. Hurt
                                            Cindy M. Hurt




                                    3
       Case 7:23-cv-00899-BO-BM Document 11 Filed 07/18/23 Page 3 of 3
